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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                            CIVIL MINUTES - GENERAL


Case No.          ED CV 20-00768-TJH(PVC)                                         Date     AUGUST 28, 2020


Title     Kelvin Hernandez Roman et al v. Chad F. Wolf et al.,

Present: The Honorable             TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE


                  YOLANDA SKIPPER                                              NOT REPORTED
                          Deputy Clerk                                           Court Reporter


                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                            None Present                                         None Present


Proceedings:          IN CHAMBERS-ORDER AND NOTICE TO ALL PARTIES

        Counsel are hereby notified that pursuant to the Judge's directive, re the joint stipulation
        for order modifying scheduling order [399] is hereby rejected by the Court. The Court will
        hold a Final Pretrial Conference for this case.

        Counsel are reminded that all documents required by Local Rule 16 must be filed in
        advance of the Conference.

        Anticipated evidentiary objections must be raised through motions in limine; and
        the Court will entertain another stipulation to modify the scheduling order provided that
        the stipulation complies with the above items.

        IT IS SO ORDERED.

        cc: all parties




        CV-90                                       CIVIL MINUTES - GENERAL            Initials of Deputy Clerk ys
